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DISTRICT OF DELAWARE
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      23-11385

      The Mitchell Gold Co., LLC




      Case Type :                       bk
      Case Number :                     23-11385
      Case Title :                      The Mitchell Gold Co., LLC
      Judge :                           Laurie S. Silverstein
      Courtroom :                       6th Floor Courtroom 2, Wilmington, DE
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